Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 1 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 2 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 3 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 4 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 5 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 6 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 7 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 8 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 9 of 10
Case 2:11-cv-01554-JP Document 1 Filed 03/04/11 Page 10 of 10
